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                         IN THE UNITED STATED DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

U.S. BANK NATIONAL ASSOCIATION,                    §
NOT IN ITS INDIVIDUAL CAPACITY,                    §
BUT SOLELY AS TRUSTEE FOR THE                      §
RMAC TRUST, SERIES 2018 G-CTT,                     §        Civil Action No. 4:22-cv-00228
                                                   §
     Plaintiff,                                    §
                                                   §
v.                                                 §
                                                   §
STEVEN C. ARNOLD                                   §
                                                   §
     Defendants.                                   §
                                                   §

                             PLAINTIFF’S ORIGINAL COMPLAINT

        Plaintiff the U.S. Bank National Association, not in its individual capacity but solely as

Trustee for the RMAC Trust, Series 2016 G-CTT (“U.S. Bank” or “Plaintiff”) files this Original

Complaint against Defendant Steven C. Arnold (“Defendant”), and shows:

                                              I. PARTIES

        1.        U.S. Bank is the Plaintiff in this cause who is appearing through the undersigned

counsel.

        2.        Defendant Steven C. Arnold is the current owner of the subject property. He may

be served with process at 1007 Redbud Court, Arlington, Texas 76012, or such other place where

he may be found. Summons is requested.

                                  II. JURISDICTION AND VENUE

             A. Diversity Jurisdiction.

        3.        This Court has jurisdiction over the controversy under 28 U.S.C. Section 1332

because there is complete diversity between Plaintiff and Defendant and the amount in

controversy exceeds $75,000.00.


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       4.      Plaintiff is the trustee of a traditional trust. When determining the citizenship of a

trust for purposes of diversity jurisdiction, it is the citizenship of the trustee which controls.

Navarro Sav. Assoc. v. Lee, 446 U.S. 458, 464-66 (1980); Mfrs. and Traders Trust Co. v. HSBC

Bank USA, N.A., 564 F. Supp. 2d 261, 263 (S.D.N.Y. 2008). Plaintiff is a national banking

association which is chartered and has its main office in Minnesota. In Wachovia Bank, N.A. v.

Schmidt, 546 U.S. 303 (2006), the Supreme Court held that a national bank is a citizen of the

state where its main office, as designated in its articles of association, is located. Wachovia

Bank, N.A. 546 U.S. at 307; see 28 U.S.C. § 1348 (2006). Therefore, Plaintiff is a citizen of

Minnesota for diversity purposes

       5.      Defendant is an individual and citizen of the state of Texas.

       6.      This Court has jurisdiction over the controversy under 28 U.S.C. Section 1332

because the amount in controversy exceeds $75,000.00. In this suit, Plaintiff seeks a declaratory

judgment to foreclose on real property. Because the property is valued at more than $75,000.00,

the minimum amount-in-controversy requirement has been met. When the object of the litigation

is a mortgage lien that entitles its owner to the full use and enjoyment of the property, the lien

may be measured by the appraised value of the property, the purchase price, or the outstanding

principal and interest. Cf. Farkas v. GMAC Mortg., LLC, 737 F.3d 338, 341 (5th Cir. 2013).

       7.      When a party seeks declaratory relief, the amount in controversy is measured by

the value of the object of the litigation, and the value of that right is measured by the losses that

will follow. Webb v. Investacorp, Inc., 89 F.3d 252, 256 (5th Cir.1996). Stated differently, the

amount in controversy is “the value of the right to be protected or the extent of the injury to be

prevented.” Hartford Ins. Grp. v. Lou-Con, Inc., 293 F.3d 908, 910 (5th Cir. 2002) (quoting

Leininger v. Leininger, 705 F.2d 727, 729 (5th Cir. 1983)); see also Farkas v. GMAC Mortg.,

LLC, 737 F.3d 338, 341 (5th Cir. 2013).


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       8.      Here, the value of the right to be protected is enforcement of mortgage contract

through foreclosure. If Plaintiff were to foreclose on the Property, it would be entitled to either

the full use and possession of it, or the proceeds of a foreclosure sale. But if Plaintiff is unable to

foreclose, it may be entirely divested of any interest in the Property. Thus, rights to the entirety

of the property are in question, and the value of the property controls. And the value of the

Property described below exceeds $75,000.00. The Tarrant County Appraisal District values the

Property at $193,490.00 in excess of the jurisdictional minimum. Therefore, Plaintiff meets the

amount-in-controversy requirement.

             B. Venue.

       9.      Venue is proper in the Northern District of Texas, Fort Worth Division, under 28

U.S.C. Section 1391(a)(2) because this suit concerns title to real property located in Tarrant

County, Texas.

                                               III.FACTS

       10.     On or about February 10, 2014, for value received, Decedent Sharon Brock,

deceased (“Borrower” or “Decedent”) executed that certain Note (“Note”) in the original

principal sum of $73,056.00 bearing interest at the rate of 4.000% per annum and originally

payable to Herring Bank (“Herring”). See Exhibit A.

       11.     The Note is secured by that certain Deed of Trust (“Security Instrument” and

together with the Note, the “Loan Agreement”) of even date therewith, signed by Borrower. The

Security Instrument was filed for record in the Official Public Records of Tarrant County, Texas

under Instrument No. D214033496 granting Herring a valid lien on improved real property in

Tarrant County, Texas, commonly known as 1007 Redbud Court, Arlington, Texas 76012 and

more particularly described as follows:




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       LOT 15, OAKLAND ACRES ADDITION, AN ADDITION TO THE CITY OF
       ARLINGTON, TARRANT COUNTY, TEXAS, ACCORDING TO PLAT RECORDED
       IN VOLUME 388-26, PAGE 82, PLAT RECORDS, TARRANT COUNTY, TEXAS.

(the “Property”). See Exhibit B.

       12.    The Security Instrument names Mortgage Electronic Registration Systems, Inc.

(“MERS”) as the beneficiary, but solely as nominee for Herring. The Loan Agreement was

subsequently transferred by MERS to Wells Fargo Bank, N.A. per certain Assignment of Deed of

Trust recorded in the Official Public Records of Tarrant County, Texas under Instrument No.

D220109611. See Exhibit C.

       13.    The Loan Agreement was then transferred by Wells Fargo Bank, N.A. to U.S.

Bank per certain Texas Assignment of Deed of Trust recorded in the Official Public Records of

Tarrant County, Texas under Instrument No. D221058511. See Exhibit D.

       14.    Plaintiff is the current legal owner of the Note. Plaintiff is also the beneficiary and

a mortgagee as that term is defined in section 51.0001(4) of the Texas Property Code.

       15.    Under the terms of the Note and Security Instrument, the Borrower was required

to pay when due the principal and interest on the debt evidenced by the Note, as well as any

applicable charges and fees due under the Note.

       16.    The Note and Security Instrument further provide that should the Borrower fail to

make payments on the Note as they became due and payable or fail to comply with any or all of

the covenants and conditions of the Security Instrument, that the lender may enforce the Security

Instrument by selling the Property according to law and in accordance with the provisions set out

in the agreement.

       17.    Borrower passed away on June 17, 2018. Upon information and belief, no probate

was ever opened for Borrower. Prior to her death, Borrower transferred her interest in the

Property via a General Warranty Deed Reserving Life Estate to Defendant Steven C. Arnold. Per


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such deed, upon the death of the Borrower, the full estate shall vest in Defendant Steven C.

Arnold. See Exhibit E. Accordingly, Defendant is the sole owner of record with title over the

Property.

       18.      The Borrower failed to comply with the terms of the Loan Agreement. Notice of

Default was provided on April 26, 2021, pursuant to the Loan Agreement and applicable law. See

Exhibit F. The default was not cured. Accordingly, on March 14, 2022, the Loan Agreement was

accelerated when a Notice of Acceleration of Loan Maturity was provided pursuant to the Loan

Agreement and applicable law. See Exhibit G.

       19.      In accordance with the Texas Rule of Civil Procedure 54, all conditions precedent

have been performed or have occurred for Plaintiff to enforce its security interest against the

Property. Plaintiff brings this suit to obtain an order for non-judicial foreclosure.

                               IV. DECLARATORY JUDGMENT

       20.      The foregoing paragraphs are incorporated by reference for all purposes.

       21.      Plaintiff requests a declaration from this Court that it is the owner and holder of

the Note and beneficiary of the Security Instrument. Plaintiff requests a further declaration from

this Court that, as owner and holder of the Note and beneficiary of the Security Instrument,

Plaintiff is a mortgagee as that term is defined under Texas Property Code section 51.0001(4),

and is authorized to enforce the power of sale in the Security Instrument through foreclosure of

the Property.

       22.      Plaintiff has been forced to hire the undersigned attorneys to seek a declaratory

judgment as a result of Borrower’s failure to comply with the Loan Agreement. Plaintiff is

therefore entitled to and seeks judgment for its reasonable attorney’s fees in this action, both

through trial and in the event of a subsequent appeal, as provided by the Security Instrument

signed by the Borrower, and by statute. TEX. CIV. PRAC. & REM. CODE § 37.009.


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                      V. CAUSE OF ACTION: NON-JUDICIAL FORECLOSURE

       23.     The foregoing paragraphs are incorporated by reference for all purposes.

       24.     As the current mortgagee of record who has the right to enforce the Note and

Security Instrument. The Security Instrument permits Plaintiff to foreclose on the Property

should there be an event of default on the Note. Because of material breach of the Loan

Agreement, Plaintiff seeks judgment allowing it to enforce its lien through non-judicial

foreclosure of the Property in accordance with the Security Instrument and Texas Property Code

section 51.0002, or alternatively, a judgment for judicial foreclosure, against the Defendant who

acquired interest on the Property upon Borrower’s death but subject to Plaintiff’s debt.

       25.     Plaintiff has been forced to hire the undersigned attorneys to seek an order

allowing foreclosure as a result of the Borrower’s failure to comply with the Loan Agreement.

Plaintiff is therefore entitled to and seeks judgment against Defendant for its reasonable

attorneys’ fees in this action, both through trial and in the event of a subsequent appeal, as

provided by the Security Instrument.

                                       VI.     PUBLIC AUCTION

       26.     The foregoing paragraphs are incorporated by reference for all purposes.

       27.     Because of the material breach of the Loan Agreement, a public auction of the

Property in conjunction with all other regularly scheduled non-judicial foreclosure sales on the

first Tuesday of the month would provide the most practical, efficient, and effective means to

enforce Plaintiff’s security interest in the Property. Because the rights, responsibilities and duties

of Plaintiff and the trustee are well known under Texas Property Code § 51.002 and Texas case

law, a public auction conducted in the same manner as a non-judicial foreclosure sale would

meet all constitutional standards of due process. Because no personal liability is sought against

the Defendants, a public auction of the Property would be the most expedient means to put the


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Property back into the stream of commerce and the housing stock of the community. Otherwise,

the Property will continue to be a wasting asset that is subject to vandalism and deterioration.

                                              PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that Defendants be

cited to appear and answer, and the Court enter judgment granting:

        a. A declaration that Plaintiff is the owner and holder of the Note and beneficiary of the
           Security Instrument, and that Plaintiff is a mortgagee as that term is defined under
           Texas Property Code section 51.0001(4), and is authorized to enforce the power of
           sale in the Security Instrument through foreclosure of the Property;

        b. A declaration that Plaintiff’s lien against the Property shall be enforced by a non-
           judicial foreclosure at public auction—or alternatively, a judgment for judicial
           foreclosure—and that through the foreclosure or auction the Defendant is divested,
           and the purchaser at foreclosure sale is vested, of all of Defendant’s right, title, and
           interest to the Property;

        c. Attorney fees and costs of suit; and

        d. All other relief, in law and in equity, to which Plaintiff is entitled.


                                                       Respectfully submitted,

                                                    By:    /s/ Mark D. Cronenwett
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